Case 18-12428-SDM        Doc 80    Filed 10/19/18 Entered 10/19/18 14:10:51             Desc Main
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_________________________________________________________________________________

                                                    SO ORDERED,



                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


                      UNITED
       The Order of the Court is STATES     BANKRUPTCY
                                 set forth below.             COURT
                                                  The case docket reflects the date entered.
                      NORTHERN         DISTRICT     OF  MISSISSIPPI
________________________________________________________________________________




IN RE:
      PRO TRUCKING, INC.                                                 CASE NO. 18-12428-JDW


               DEBTOR                                                                CHAPTER 11


                       ORDER SETTING HEARING OUT OF TIME


       This matter came on the Court’s sua sponte motion to set the Motion to Convert Case to

Chapter 7, or in the alternative Motion to Dismiss Case (hereinafter “the Motion”) (Dkt# 76) for

hearing outside the thirty (30) days set forth in 11 U.S.C. §1112(b)(3). The court finds that

compelling circumstances prevent the Court from meeting the time limits established by that

paragraph and, as such, the Court may set the Motion outside the thirty (30) day requirement.

See §1112(b)(3). The Court further finds that no parties are or will be prejudiced by the setting

of the Motion outside the thirty (30) day requirement.

       IT IS, THEREFORE, ORDERED that the hearing on the Motion hereby is set for

November 27, 2018 at 10:00 AM.

                                     ##END OF ORDER##
